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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                        §
   In re:                                               §       Chapter 7
                                                        §
   ASTRALABS, INC.                                      §       Case No. 23-10164-SMR
     Debtor                                             §
                                                        §

                  NOTICE OF CONTINUED FIRST MEETING OF CREDITORS

            PLEASE TAKE NOTICE that the first meeting of creditors held pursuant to 11 U.S.C.

  § 341 in this case (the Meeting) has been rescheduled for July 28, 2023, at 9:00 a.m. Central

  Time. The Meeting will be conducted at Homer Thornberry Bldg., 903 San Jacinto, Room 1500,

  Austin, TX 78701. Parties can also attend telephonically at (877) 937-4915; Code: 7491951#.

            PLEASE TAKE FURTHER NOTICE that an election of a replacement chapter 7 trustee

  under 11 U.S.C. § 702 was requested to take place at such Meeting. Attached, please find the

  Trustee Election Questionnaire (Exhibit A) and Trustee Election Ballot (Exhibit B). To request

  an election and/or cast a vote, creditors must either appear at the meeting of creditors or have

  properly authorized a proxy to vote the claim or otherwise act as the owner’s attorney in fact in

  connection with administration of the estate. Please read the instructions below on how to submit

  the forms and appear at the meeting of creditors to cast your vote. Failure to properly submit all

  required forms and appear at the meeting may result in a vote being disputed and, thus, not

  considered.

            Option A

            If attending the meeting of creditors telephonically, please submit all of the following to

  the United States Trustee no later than Wednesday, July 26, at 5:00 p.m. Central Time via

  mail at 903 San Jacinto Blvd., Room 230, Austin, Texas 78701, Attn: Shane Tobin, OR via
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  email at ustpregion07.au.ecf@usdoj.gov with the subject line “Attn: Shane Tobin, Astralabs,

  LLC, case number 23-10164 – Trustee Election”: (1) completed Exhibit A, (2) completed

  Exhibit B, (3) a complete copy of your filed proof of claim, and (4) a copy of your original

  government-issued photo identification for the person signing the proof of claim and who will

  vote the claim. As a condition of voting, the United States Trustee will confirm your identity and

  the information contained on your ballot at the meeting of creditors.

         Option B

         If attending and casting your vote in person at the meeting of creditors, you must submit

  the following to the United States Trustee at the meeting when requested: (1) completed Exhibit

  A, (2) completed Exhibit B, (3) a complete copy of your filed proof of claim, and (4) a copy of

  the original government-issued photo identification for the person signing the proof of claim and

  who will vote the claim. Exhibit A and Exhibit B will also be available at the meeting of

  creditors.

         Option C

         If an entity is appearing at the meeting of creditors on your behalf as your proxy, the

  proxy must submit to the United States Trustee at the outset of the meeting of creditors (1) a

  written and duly authorized power of attorney authorizing the proxy entity to vote the claim or

  otherwise act as the owner’s attorney in fact in connection with administration of the estate AND

  (2) a complete copy of the creditor’s filed proof of claim. The proxy must complete both Exhibit

  A and Exhibit B and submit both documents to the United States Trustee on your behalf.

         Election Disputes

         Creditors and parties may also attend the Meeting and object to the election, including

  but not limited to objections relating to voting or tabulation. Following the conducting of any


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  election at the Meeting pursuant to 11 U.S.C. § 702, the United States Trustee will file a report of

  the election results with the Bankruptcy Court, including but not limited to any disputes

  regarding the election.

                                                Respectfully submitted,

                                                BARRON & NEWBURGER PC
                                                7320 N. MoPac Expressway, Ste. 400
                                                Austin, Texas 78731
                                                Telephone: (512) 649-3243

                                                By /s/ Stephen Sather
                                                 Stephen Sather
                                                 State Bar No 17657520
                                                 ATTORNEY FOR MOVANTS



                                    CERTIFICATE OF SERVICE

            I certify that a copy of the foregoing was served by first class mail to the persons on
  the attached list on this the 5th day of July 2023.



                                                /s/Stephen W. Sather
                                                Stephen W. Sather




                                                    3
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Label Matrix for local noticing      ASTRALABS Inc 16                     United States Trustee (SMG17)
0542-1                                     979 Springdale Road Suite #123         United States Trustee
Case 23-10164-smr                          Austin, TX 78702-3764                  903 San Jacinto Blvd, Suite 230
Western District of Texas                                                         Austin, TX 78701-2450
Austin
Wed Jul 5 13:05:47 CDT 2023
U.S. BANKRUPTCY COURT                      3423 Holdings, LLC                     3423 Holdings, LLC
903 SAN JACINTO, SUITE 322                 4811 E 7th Street                      c/o: Lisa C. Fancher
AUSTIN, TX 78701-2450                      Austin, TX 78702-5018                  Fritz Byrne, PLLC
                                                                                  221 W Sixth St #960
                                                                                  Austin TX 78701-3444

3Common Inc.                               AFCO Credit Corporation                Adam Yorke
46 Sunset Blvd                             c/o Daniela Mondragn                   1541 Ford Avenue
46 Sunset Blvd, Winnipeg, Manitoba, Cana   REED SMITH LLP                         Redondo Beach, CA 90278-2801
                                           1221 McKinney St #2100
                                           Houston TX 77010-2020

Adwait Muthal                              AiDLT Global Limited                   Albert Balady
7 Wainwright Rd Unit 80                    30 Dredge Court                        208 Ackerman Ave
Winchester, MA 01890-2381                  Milton, Ontario, Canada                Ho Ho Kus, NJ 07423-1006
                                           L9T8T1


Aldo de Jong                               Alexander Clarence McIntosh            Alexander Monsell
299 Glenlake Ave #2301                     1047 East Spazier Ave. Apt. # L        4489 E Florida Ave
Toronto ON M6P4A6                          Burbank, CA 91502-2652                 Denver, CO 80222-3617
Canada


Alexander Seery                            Alexandra Cherwa aka Jonathan Cherwa   Alexandre Sylvestre
925 Rolfe Place                            15907 91st Ave Ct E                    609 Tower Dr.
Alexandria, VA 22314-1383                  Puyallup, WA 98375-8941                Edgewater, NJ 07020-2202



Alladin Ammouri                            Andrew Ryan                            Andrew Ryan
2445 Avis Street, Mesquite, Texas          979 Springdale Rd. Suite #123          c/o Ron Satija
Mesquite, TX 75149-6513                    Austin, TX 78702-3764                  Hayward PLLC
                                                                                  7600 Burnet Rd, Ste.530
                                                                                  Austin, TX 78757-1269

Anthony Runnels                            Anthony Veloso                         Antonello Loddo
12024 Rock Creek Ct.                       730 Mason Road                         205 Ridge Ave
Hawthorne, CA 90250-1668                   Jefferson, MA 01522-1346               Gettysburg, PA 17325-2429



Anu Santhanagopal                          Anuj Jain aka Anmol Jain               Apex Funding Source LLC
12 Brittany Way                            620 W 42n ST Apt S06G                  c/o Kaminski Law PLLC
Kendall Park, NJ 08824-1465                New York, NY 10036-2019                PO Box 247
                                                                                  Grass Lake MI 49240-0247


Apex Funding Source, LLC                   Archilyse AG                           Athletes to Athletes
3050 Biscayne Blvd #502                    c/o Matthias Standfest                 C/O The Lott Firm, PLLC
Miami, FL 33137-4153                       Flelastrasse 31B                       501 Congress Avenue, Suite 150
                                           8047 Zurich, Switzerland               Austin, TX 78701-3575
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Avinash Reddy Desireddy              BSDCD Limited 16                     Baiping Guo
16304 FM 1325 APT 7315                13/F Cheong Sun Tower                         8 Mooney Street
Austin, TX 78728-1239                 118 Wing Lok St, Sheung Wan                   Lane Cove North NSW 2066
                                      Hong Kong                                     Australia


Billy Jack Linsley                    Bonne et Filou Inc                            Bootstrap Servicing, Inc.
16 Bodine Street                      1178 Broadway                                 510 Townsend Street
Wellsboro, PA 16901-8206              3rd Floor #1390                               San Francisco, CA 94103-4918
                                      New York, NY 10001-5404


Bradford Chan                         Bradley G Kessler / Kessler Realty Holdings   Bradley Robertson
2540 Wexford Ave.                     1621 Northland Ave                            550 Oak Grove Ave. Unit 122
South San Francisco, CA 94080-5517    Lakewood, OH 44107-3723                       Menlo Park, CA 94025-3282



CFT Clear Finance Technology Corp.    CMT Scanner                                   Cameron Resnick
1200-33 Yonge Street,                 1/19 Virginia Street                          870 North 28th Street 101
Toronto, Ontario,                     Geebung                                       Philadelphia, PA 19130-1728
M5E 1G4, Canada                       QLD 4034, Australia


Capitol Vending and Coffee Company    Carl Lumma                                    Carl Russo
c/o Cleveland R. Burke                367 Los Gatos Blvd                            707 Willow Ave. Unit #2
Holland & Knight LLP                  Los Gatos, CA 95032-5458                      Hoboken, NJ 07030-4281
100 Congress Ave #1800
Austin TX 78701-4042

Casey Melcher                         Cassidee Collier                              Celtic Bank
1635 N Water St. Apt 602              3 Stuyvesant Oval                             268 South State Street Suite 300
Milwaukee, WI 53202-3663              Apt 10H                                       Salt Lake City, UT 84111-5314
                                      New York, NY 10009-2130


Chad Doyle                            Chaisson-Browne LLC                           Chang Ting Zou
3450 Crestmoor Dr.                    35 Fiddlehead Rd                              48 Woodview Dr.
San Bruno, CA 94066-3923              Oxford, CT 06478-2708                         Brewster, MA 02631-2902



Christina Hong                        Christopher Fast                              Christopher Fontaine
12407 Bexley                          45 Meriam Street                              7814 Bradenton Drive
Houston, TX 77099-1308                Wakefield, MA 01880-3633                      Charlotte, NC 28210-7216



Christopher Seabolt                   Clearco                                       Constantine Trikas
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Duluth, GA 30096-7939                 31 Fitzwilliam Square,                        Brooklyn, NY 11238-6756
                                      Dublin 2, Ireland


Cordtz Tuatoo                         Coventry Capital Partners, LLC                Cristian I Crisan
417 Swift Fox Run                     306 Landing Lane                              15408 Fisher Island Dr.
Crestview, FL 32536-5450              Chestertown, MD 21620-4726                    Austin, TX 78717-3832
           23-10164-smr Doc#152 Filed 07/05/23 Entered 07/05/23 14:18:12 Main Document Pg 6 of
Crystle A. Rauch                     Curt Bromm    16                     DAWn Audio LLC
6701 Lakewood Rd                      5785 Open Fields Drive                3035 St Ann St
Stanwood, WA 98292-6923               Whitestown, IN 46075-9719             Apt A
                                                                            New Orleans, LA 70119-4029


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Tucson, AZ 85741-1231                 Richland, WA 99354-2105               Williamstown, NJ 08094-3534



David Huie                            David Hule                            Diego Mauro Cogno
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Newport Beach, CA 92660-7228          Newport Beach, CA 92660-7228          SW18 1PA,
                                                                            London, UK


Domunus                               Ebonee Miller                         Eli M Blatt
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New York, NY 10009-3145               West valley city, UT 84128-4020       Miami, FL 33160-2535



Emilija Dimitrovski                   Eric Lee                              ErleaDx Pte Ltd
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90419 Nuremberg                       Plano, TX 75023-3233                  #09-269
Germany                                                                     Singapore 520856


Ethan Brandt                          Evan Johnson and Ejohnson RD LLC      Eventuall, Inc.
301 E 4th St                          3 Revere Drive                        6515 W Sunset Blvd
Huxley, IA 50124-9333                 Ridgefield, CT 06877-3642             Suite 430
                                                                            Los Angeles, CA 90028-7259


Fernando Moreno Cortina               Filipe Peerally                       Franshesca Castoria
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Austin, TX 78723-2105                 Peyton, CO 80831-6777                 Manahawkin, NJ 08050-7807



Frederic W. Corwin III                GDS Group LLC                         Gary L DeVries
26 Boswell Rd.                        50 Merrick Road STE 203               2204 Ashwood Drive
Reading, MA 01867-1801                Rockville Centre, NY, NY 11570-4726   Aberdeen, SD 57401-1681



GeoNadir Pty Ltd                      George Andrew Simons CDP              Gic-Owens Fiestan
70 Moresby St, Trinity Beach          15b Acacia Lane,                      3153 Asher Rd
Cairns, 4879                          Cambridge Road,                       Ann Arbori, MI 48104-4170
Queensland, Australia                 Sandys MA 02 Bermuda


Girish Amin                           Glenn Hunter                          Green Future Investments LLC
1419 Sierra Glen Circle               80 Forest Drive                       333 Turn Pike Dr.
Apex, NC 27502-7421                   East Northport, NY 11731-1529         Folsom, CA 95630-8091
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Gregory Baker                        Gregory Wilson 16                    Griffin Hermes
224 Furman Farm Pl.                   15 W 110th St. Apt. 22            2450 4th Street
Charleston, SC 29492-7304             New York, NY 10026-4307           apt B
                                                                        Santa Monica, CA 90405-3607


Harold Bishop                         Harrison Lee                      Hasan Ugur Koyluoglu
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Lufkin, TX 75904-5710                 Oakville, Ontario                 Princeton, NJ 08540-1247
                                      L6J 7P3


Henry Shao                            Holistic Health Collaborative     Inbal Tubi
1955 Junewood Ave.                    128 Pleasant Street               Calle 74C #7-52 Apt #305
San Jose, CA 95132-1627               Marblehead, MA 01945-2340         Bogata Colombia 00000



Innovative Wellness Systems Inc       Into The Multiverse Inc.          Iruka Capital
10 Beldon Rd.                         816 California Ave.               162 Elmora Ave #211
Dover, MA 02030                       Venice, CA 90291-3412             Elizabeth, NJ 07202-1148
Dover, MA 02030-2000


Iruka Capital Group, LLC              Iryna Zhuravel                    Ivanna Mariel Guerrero Ulloa
162 Elmora Ave., Ste. 211             8929 Lombard Place                8010 Little Deer Xing
Elizabeth, NJ 07202-1148              Apt. 123                          Austin, TX 78736-1837
                                      San Diego, CA 92122-1532


J333 Ventures LLC                     Jack Atkin                        Jack Colletti
1706 Elliot Ranch Rd                  16 Hamlin Road                    2630 Quail Hill Drive
Buda, TX 78610-3033                   Edison, NJ 08817-2906             Pittsburgh, PA 15241-2963



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                                                                        Czech Republic


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                                      Cottage Grove, MN 55016


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Jeremy Greiner                       Jeremy Phillips 16                   Joao Carlos Dos Santos Branquinho,
1709 Crestwood Drive                      211 W Verdugo Ave. #201                      3530 Mystic Pointe Dr. Apt. 2012
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                                                                                       Austin, TX 78704-0182


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One JLT, 06-150, Jumeirah Lakes Towers    Austin TX 78704-1089                         Matthews, NC 28104-5434
PO Box 338553, Dubai, UAE


Kleiner Device Labs                       LOOFT Inc.                                   Lacey Hunter
999 Driver Way                            260 N Lord St #228                           645 Meadow Drive SE
Incline Village, NV 89451-9019            Brookfield, WI 53045-3326                    North Bend, WA 98045-7913



Laurie Cercone                            Lawrence D. Hutchison and Marcia Hutchison   Leonel Andres Barragan Rodriguez
604 Eagle                                 306 Landing Lane                             Carrera 111D Bis # 78b 19
Austin, TX 78734-5009                     Chestertown, MD 21620-4726                   Bogota, Colombia



Leonid Mordkovich                         Lets Join In Pty Ltd                         Lithium Networks, LLC
1974 Devonshire Ave                       12 sky lane Ashburton                        PO Box 2994
Avon, IN 46123-0003                       Melbourne, Victoria, Australia, MA 3147      Austin, TX 78755
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Locoal Charcoal Company              Loglens Insights Private
                                                         16 Limited       Lonch, Inc.
1201 Citation Circle                     766 The Executive Zone, Anna Salai            60 Feldspar Rdg.
Del Valle, TX 78617                      Chennai, TN 60000                             Glastonbury, CT 06033-3355



Loopi, Inc.                              Makara Insights                               Mallory Frick and JM FRICK LLC
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6867 Amanda Lane                         13258 N. 79th St.                             2121 Lohman’s Crossing Road 504-426
Lockport, NY 14094-9659                  Scottsdale, AZ 85260-4016                     Austin, TX 78734-5217



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Nettleton, MS 38858-8326                 Boston, MA 02204-7090                         Chandler, AZ 85248-2183



Matthew Peter Kelly and Xin Geng Kelly   Max Mahan                                     Melane Rella and Angelo Rella
13190 Burke Rd                           4479 Vrain St.                                628 Burno Mountain Road
Los Altos, CA 94022-3441                 Denver, CO 80212-2440                         Cotopaxi, CO 81223-9480



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                                         THE WOODLANDS, TX 77382-1504


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136 Cowper St                            333 Turn Pike Dr.                             14 Chardonnay Drive
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Michael W. Brown                         Michelle Strayhorn                            Morana Enterprises, LLC
56 Blackberry Ln                         586 Main St #E                                131 Huffman Avenue
Yarmouth, ME 04096-5966                  Hackensack NJ 07601-5924                      Dayton, OH 45403-1915



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5025 Hudson Drive                          Goro Law, PLLC                 Lange Zeile 12,
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                                           Richardson, TX 75080-2689      Germany


NeuroTech Group AI Ltd                     Neurologik - FZE               New Growth Brands, Inc.
5a Bear Lane                               Za Obchody 846                 Attn: Alastair James
London SE1 0UH                             Neratovice                     3305 Bellaire Park Ct
UNited Kingdom                             27711                          Fort Worth, CA 76109-2636
                                           Czech Republic

Nic Hickox                                 Nicholas J. Hickox             Nihar Patel
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Austin, TX 78749-1487                      Suite B-150 #107               Suite #123
                                           Austin, TX 78749-1487          979 Springdale Rd. Suite #123
                                                                          Austin, TX 78702-3764

Nirmalbhai C Patel                         Novogiene Inc                  Nvzn Augmented Reality Corp.
52 Meadow Brook Rd.                        226 Mira Vista                 2549 Waukegan Rd
Edison, NJ 08837-2012                      Santa Cruz, CA 95060-3336      PMB 10024
                                                                          Bannockburn, IL 60015-1569


ORDEREZ PTE LTD                            Ok Away Pty Ltd                Olivia Kim
12020 Shamrock Plz Ste 200 PMB 93169       Level 21                       2748 Bayberry Way
Omaha, NE 68154-3537                       55 Collins Street              fullerton, CA 92833-1402
                                           Melbourne Victoria AUSTRALIA


Optifold                                   Paul Wilcox                    Paul and Mary Wilcox
5900 Yonge Street, suite 807               380 Columbus Avenue            380 Columbus Ave. #1
North York, Ontario, M2M 3T8               Unit 1                         Boston, MA 02116-6075
Canada                                     Boston, MA 02116-6075


Pebble Labs Inc.                           Petr Zaytsev                   Pneumeric, Inc.
c/o Steve Ofstehage                        3632 Carlisle Dr               Attn: Johnathon Aho
100 Entrada Dr.                            Durham, NC 27707-5062          823 4th St SW
Los Alamos, NM 87544-3353                                                 Rochester, MN 55902-2975


Prismatext Inc                             Proc12 Inc.                    Protein Fluidics Inc
800 W 10th Ave                             9601 Ridge Walk Court          875_B Cowan Rd
Anchorage, AK 99501-3402                   Davie, FL 33328-7141           Burlingame CA 94010-1229



Raise a Hood, Inc                          Rajamani Ganesh                Randolph N. Osherow
Michael Petersen                           13895 Clatsop Way              c/o Jay H. Ong
19275 Walden Trail                         San Diego, CA 92129-4423       Munsch Hardt Kopf & Harr, PC
Deephaven, MN 55391-3546                                                  1717 West 6th Street, Suite 250
                                                                          Austin, TX 78703-4777

Revitalive s.r.o.                          Richard Ditter                 Richard Litzky
Svejcarovo namesti 5                       9449 Poplar Ave                5158 Forest Brook Pkwy
155 00, Prague                             Germantown, TN 38138-8003      Marietta, GA 30068-2828
Czech Republic
            23-10164-smr Doc#152 Filed 07/05/23 Entered 07/05/23 14:18:12 Main Document Pg 11
Richard Nilsson                       Richard Pottin of 16                Richard S Mackin Jr
Gran Via 577, BX2                        312 - 6380 Buswell Street             1639 Glasgo Rd.
BARCELONA 08011                          Richmond, BC                          Griswold, CT 06351-3510
SPAIN                                    V6Y 2G2


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Edison, NJ 08837-4216                    Lahaina, HI 96761-1658                Minneapolis, MN 55446-3936



Ryan Hall                                Ryan Stewart                          Saifon Chang
6053 Big Pond Trl                        2 Mill Falls Road                     5822 E. Wildrose Dr.
Grovetown, GA 30813-4543                 Pembroke, NH 03275-1233               Orange, CA 92867-3355



Salvatore Pepe                           Sam Simonovich                        Samuel Esau Goldman
1011 Schindler Dr.                       128 Prince St #35                     2129 Grand Oaks Ave.
Silver Spring, MD 20903-1030             Tappahannock VA 22560-5032            Altadena, CA 91001-3501



Sanjay Pinnock                           Sanjay V Patel                        Sedjin Alka
7275 Leonard Street                      17199 Carrotwood Dr.                  203 West Sealy Ave.
Philadelphia, PA 19149-1315              Riverside, CA 92503-7920              Alvin, TX 77511



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1110 Windsor Park Ct                     6820 Preston Road Apt. 225            P.O. Box 247
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Sleep Easy Technology Inc                SoftDsk LLC                           Spencer Diner
1400 E Angela Blvd Unit 236 PO box 160   PO Box 5963                           4261 South Pearl Street
South Bend, IN 46617-1364                Plant City, FL 33563-0052             Englewood, CO 80113-4741



Stephen Berger                           Stephen Berger                        Stripe Capital
150 Lodge Street                         64 Northland Rd                       185 Berry St. #550
Manchester, NH 03104-3776                Windham, NH 03087-1275                San Francisco, CA 94107-9105



Style Konsult Inc.                       TX Comptroller of Public Accts        Talent Dube
31 W. 34th St. 7Fl                       c/o John M Stern Atty General’s Off   8/100 Wittenoom Rd.
New York, NV 10001-3009                  Bankruptcy & Collections Division     High Wycombe, WA 6057
                                         PO Box 12548                          Perth, Australia
                                         Austin TX 78711-2548
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Tammy Hong                            Target Mobility GmbHof 16           The Hochman Family Trust
12407 Bexley Dr.                         Eiderstedter Weg 5B                            6104 Sierra Arbor Ct.
Houston, TX 77099-1308                   Berlin (Germany), TX 14129                     Austin, TX 78759-5176



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U.S. Small Business Administration       United States Trustee - AU12                   Vaidehi Tembhekar
1545 Hawkins Blvd #202                   United States Trustee                          6012 Tallow Ln
El Paso, TX 79925-2654                   903 San Jacinto Blvd, Suite 230                Frisco, TX 75036-8835
                                         Austin, TX 78701-2450


Verbato Inc.                             Victoria Lerner, Trustee, Lerner Living Trus   Vincent Goveas
1116 Chelsea Avenue                      11758 Crescenda Street                         1251 Weathersfield Way
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Vincent Mach                             Virgilio Yabut                                 WMW Partners Inc dba Metapyxl
950 Windsong Court                       A & F Guaranteed Service, LLC                  1720 Dekalb Ave
Diamond Bar, CA 91765-2376               2 Meadow Lark Lane                             Brooklyn, NY 11237-4004
                                         Franklin Park, NJ 08823-1809


WeConcile Inc                            Wesley Kotcher                                 Wilfrid Jean-Francois
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William Adams                            William P Daly III                             Yatinkumar Dodia
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Yeshaya A Koblick                        Yindjin Genggam Bersama                        York Gin USA, Inc.
11 Garden Street                         Kota Kasablanca Office 88 Tebet, Jakarta       Jeff Hamilton-Gahart CEO
Sharon, MA 02067-2620                    Indonesia                                      779 Oak Lane
                                                                                        Sonoma, CA 95476-7148


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b-science.net GmbH                    fashion constellateof 16            myidfi LLC
Traenkebachstrasse 38                                pobox 6                                              141 Sioux Drive
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randolph n osherow                                   Randolph N Osherow                                   Robert Chamless Lane
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                                                                                                          Houston, TX 77036-3369




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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                                                     Metro Manila                                         Sandys., Bermuda., MA 02


(u)Hypha Knowledge Integration Limited               (u)IENAI SPACE SL                                    (u)Obbrey Makundi
1st Floor, The Brew, Eagle House                     Av. Gregorio Peces-Barba 1, 28919, Legan             PO BOX 6954 MSASANI
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VIDYANAGAR                                           Courbevoie, 92400                                    Plant City, FL 33563-0052
HUBLI, 580031


(u)Surajkumar Virendra Gupta                         (u)frida elizabeth ramos martinez                    End of Label Matrix
Flat Number 1002, Building 3, Atlanta Re             rinconada del acueducto 265                          Mailable recipients     275
Anjurphata, Bhiwandi, Thane, Maharashtra             el palomar, tlajomulco de zuiga, jalisco             Bypassed recipients      11
                                                                                                          Total                   286
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                          UNITED STATES DEPARTMENT OF JUSTICE
                          OFFICE OF THE UNITED STATES TRUSTEE
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   IN RE:

            ASTRALABS, INC.                             CASE NO. 23-10164-SMR

                           TRUSTEE ELECTION QUESTIONNAIRE

  Please complete the following questionnaire. It will be used in determining your eligibility to vote
  for a Trustee. If you need additional room to elaborate on a question, please do so at the place
  indicated on the next page.

  YOUR FULL NAME: ___________________________________________________________
       Note: If you are an attorney for or representative of the creditor, your proxy must be
       attached to this form.

  COMPANY NAME: ____________________________________________________________

  ADDRESS: ___________________________________________________________________
                         (If individual – please give home address)
  CITY/STATE: _________________________________________________________________

  ZIP CODE: _____________________________ PHONE: (                   ) _________________________

  AMOUNT OF UNSECURED CLAIM: $ ___________________________________________

  Please answer all of the following questions with regard to your claim:

  1. Briefly describe the nature of your claim: __________________________________________

  ______________________________________________________________________________

  2. If your claim is partially secured, please set forth the amounts that are respectively secured
  and unsecured:
  ______________________________________________________________________________
  _____________________________________________________________________________
  3. Please indicate which of the following apply to your claim:

                             Allowable                   Yes (   )   No (   )
                             Undisputed                  Yes (   )   No (   )
                             Fixed                       Yes (   )   No (   )
                             Liquidated                  Yes (   )   No (   )
                             Unsecured                   Yes (   )   No (   )
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  4. Is your claim entitled to distribution under any of the following provisions of the Bankruptcy
  Code?
                            Section 726(a)(2)             Yes (   )   No (   )
                            Section 726(a)(3)             Yes (   )   No (   )
                            Section 726(a)(4)             Yes (   )   No (   )
                            Section 752(a)                Yes (   )   No (   )
                            Section 766(h)                Yes (   )   No (   )
                            Section 766(i)                Yes (   )   No (   )


  5. Do you or the company or individual you represent hold an interest materially adverse to the
  interest of creditors entitled to a distribution in this case: Yes ( ) No ( )


  6. Are you, or the company or individual you represent, an “insider” as that term is defined in
  Section 101(31) of the Bankruptcy Code:                     Yes ( ) No ( )

  7. Are you requesting that a Trustee election be held in the above-referenced case:
                                                              Yes ( ) No ( )

  ADDITIONAL INFORMATION: ________________________________________________

  ______________________________________________________________________________

  ______________________________________________________________________________

  ______________________________________________________________________________


          I hereby certify that the above answers to this questionnaire are true and correct to the

  best of my knowledge and belief.

                                            _____________________________________________
                                            Signature


  Dated: ________________________           _____________________________________________
                                            Title
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                            EXHIBIT B

                           UNITED STATES DEPARTMENT OF JUSTICE
                           OFFICE OF THE UNITED STATES TRUSTEE
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

     IN RE:

              ASTRALABS, INC.                                  CASE NO. 23-10164-SMR

                                  TRUSTEE ELECTION BALLOT


    YOUR FULL NAME:
    Note: If you are voting subject to a proxy, your proxy must be attached to this form.



    COMPANY NAME:



    ADDRESS:


    CITY/STATE:


    ZIP CODE:                                                  PHONE: (        )


    AMOUNT OF UNSECURED CLAIM:


    THE ABOVE CLAIMANT VOTES FOR
    TO BE THE PERMANENT CHAPTER 7 TRUSTEE


    DATE: ______________________


    SIGNATURE:                                       _________



    TITLE:                                            ______
